Case 1:22-cv-00601-CRC        Document 46-13   Filed 02/19/25   Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  CAROL WILD SCOTT                         :

               Plaintiff,                  :
                                               Case No. 22-cv-00601 (CRC)
        v.                                 :

  WASHINGTON METROPOLITAN                  :
  AREA TRANSIT AUTHORITY,
                                           :
               Defendant.

                                 [PROPOSED] ORDER

       Upon consideration of Defendant WMATA’s Motion in Limine re: Dr. Berkowitz (ECF

 No. 42), Plaintiff’s Opposition thereto, and any Reply filed, it is this _____ day of

 ___________________, 2025;

       ORDERED that Defendant’s Motion is hereby DENIED in full.

       SO ORDERED.


                                                Judge Christopher R. Cooper
